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11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                No. CR 13-863-JAK-4
14
                Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
15                                            REGARDING DEFENDANT ARMANDO MOLINA
                      v.
16                                            Hearing Date: May 14, 2020
     ARMANDO MOLINA,                          Hearing Time: 8:30 a.m.
17     aka “Criminal,”,                       Location:     Courtroom of the
                                                            Hon. John A.
18              Defendant.                                  Kronstadt

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20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Agustin D. Orozco
23   and Alexander B. Schwab, hereby files its sentencing position with
24   respect to defendant Armando Molina (“defendant”).
25         This sentencing position is based upon the attached memorandum
26   of points and authorities, the files and records in this case, the
27   //
28   //
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1    presentence investigation report (“PSR”), and such further evidence

2    and argument as the Court may permit.

3     Dated: April 30, 2020                Respectfully submitted,

4                                          NICOLA T. HANNA
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6                                          Assistant United States Attorney
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8                                                /s/
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Defendant Armando Molina was convicted by a federal jury of all

4    six counts charged against him.        Defendant, who goes by the moniker

5    “Criminal,” sought to establish Mexican Mafia dominance over drug

6    trafficking and extortionate “tax” collection in the Ventura County

7    area.   In doing so, he himself sold methamphetamine, coordinated drug

8    sales, and collected taxes.

9          The crimes in this case are part of a pattern of criminality

10   stemming from defendant’s affiliation with the Surtown Chiques gang.

11   Prior to the committing the underlying offenses here, defendant had

12   been previously convicted of three felony convictions containing gang

13   enhancements.    Due to the seriousness of defendant’s crimes in this

14   case, criminal history, and refusal to take responsibility for his

15   actions, defendant’s sentence should be substantial.           The government,

16   therefore, requests that the Court impose a low-end sentence of 168

17   months’ imprisonment.

18   II.   STATEMENT OF FACTS
19         Defendant and his co-defendant, Frank Ruiz, both Surtown Chiques

20   gang members, engaged in a conspiracy to distribute methamphetamine

21   to, and collect taxes from, local gang members on behalf of the

22   Mexican Mafia.     As part of these efforts, defendant and Ruiz

23   proceeded to sell methamphetamine and collect taxes from a

24   confidential informant (“CI”) working with the FBI on six occasions

25   between October 24, 2012 and June 7, 2013.

26         Specifically, On October 24, 2012, defendant and Ruiz met with

27   the CI and agreed to provide the CI with two ounces of

28   methamphetamine.     (PSR ¶ 20.)    During the meeting, defendant and Ruiz
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1    explained that the CI would be expected to pay $200 per week in

2    “taxes” and that any person buying drugs from defendant and Ruiz

3    would have to pay a “tax” in addition to the purchase price of the

4    drugs.   (PSR ¶ 20.)    Subsequently, on or about October 26, 2012,

5    defendant provided the CI approximately 55.4 grams of pure

6    methamphetamine to be paid back by the CI at a later date at a price

7    of $650 an ounce once the CI sold the methamphetamine.            (PSR ¶ 20.)

8          On October 29, 2012, after the CI coordinated the payment with

9    Ruiz, the CI paid defendant $1,500 ($1,300 for the 55.4 grams of

10   methamphetamine and $200 in weekly narcotics “tax”).           (PSR ¶ 21.)

11   Defendant also provided the CI with an additional 27.7 grams of pure

12   methamphetamine to sell.      (PSR ¶ 21.)

13         On November 2, 2012, defendant told the CI to call Ruiz to

14   arrange the payment of $650 for the 27.7 grams of methamphetamine

15   that defendant provided the CI on October 29, 2012.           (PSR ¶ 22.)

16   Ruiz met with the CI later that day and the CI paid Ruiz $650 for the

17   approximately 27.7 grams of methamphetamine.          (PSR ¶ 22.)

18         That same day, Ruiz told the CI that Ruiz would agree to relieve

19   the CI of paying any drug “taxes” in the future if the CI paid $700

20   per ounce of methamphetamine.       (PSR ¶ 23.)     Subsequently, on November

21   8, 2012, defendant sold the CI approximately two ounces, or 55.4

22   grams, of pure methamphetamine at a price of $700 per ounce.             (PSR

23   ¶ 23.)

24         Thereafter, defendant and his co-conspirators distributed

25   methamphetamine to the CI on three additional occasions.            (PSR ¶ 24.)

26   On January 4, 2013, defendant and Ruiz sold the CI approximately 52.5

27   grams of pure methamphetamine in exchange for $1,300.            (PSR ¶ 24.)

28   On March 12, 2013, defendant sold the CI approximately 56 grams of

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1    pure methamphetamine for $1,300.        (PSR ¶ 25.)    On June 7, 2013, Ruiz

2    sold the CI approximately 20.4 grams of pure methamphetamine in

3    exchange for $550.     In total, defendant and Ruiz distributed

4    approximately 267 grams of pure methamphetamine throughout the course

5    of the conspiracy.

6    III. SENTENCING GUIDELINES
7          The government agrees with the PSR’s calculation of defendant’s

8    sentencing guidelines.      The 267 grams of actual methamphetamine that

9    was involved in defendant’s conspiracy triggers a base offense level

10   of 32.   (PSR ¶ 32).    Defendant’s total offense level, coupled with

11   defendant’s category IV criminal history, results in a guideline

12   range of 168 to 210 months’ imprisonment.         The government agrees with

13   the USPO’s recommended low-end Guidelines sentence of 168 months’

14   imprisonment.     (Dkt. 499 at 1.)

15   IV.   ARGUMENT
16         A 168-month federal sentence would satisfy § 3553(a)’s mandate

17   that defendant’s sentence be “sufficient, but not greater than

18   necessary.”      The Court should appropriately account both for the

19   seriousness of defendant’s underlying conduct, as well as his

20   criminal history that demonstrates a pattern of gang-related criminal

21   conduct.   While defendant was convicted at trial of conspiracy to

22   distribute and distribution of methamphetamine, defendant was more

23   than some street dealer doling out methamphetamine to addicts to make

24   a buck; rather, he was a key member in a broader, more dangerous

25   criminal enterprise that sought to dominate profitable criminal

26   conduct over the Ventura County region.         Likewise, defendant’s rap

27   sheet, along with the federal offense for which he now faces

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1    sentencing, speak to a committed criminal street gang member.             (PSR

2    ¶¶ 44, 47, 49, 52).

3          Defendant has a few, if any, mitigating factors relevant to his

4    sentencing.    (PSR 69-75.)     Conversely, the need to afford adequate

5    deterrence and to protect the public from further crimes of the

6    defendant weigh in favor of a substantial sentence.           To this day,

7    despite video recordings, phone conversations, and text messages

8    demonstrating defendant pushing the drug sales and taxes in this

9    case, defendant has, to the government’s knowledge, shown little

10   remorse and demonstrated no accountability for his actions.             In

11   short, a balancing of the aggravating and mitigating factors only

12   confirms that defendant represents a continued threat to the

13   community and bears all the marks of an inevitable recidivist.

14   V.    CONCLUSION
15         For the foregoing reasons, the government respectfully requests

16   that this Court a sentence at the low end of defendant’s guideline

17   range: 168 months’ imprisonment, five years of supervised release,

18   and a $100 special assessment.

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